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            February 6, 2025

             Hon. Pamela Pepper
             United States District Court
             Eastern District of Wisconsin
             517 East Wisconsin Avenue
             Milwaukee, WI 53202


                      Re:       Justin Blake v. Kenosha County
                                Eastern District of Wisconsin Case No. 22-CV-00970
                                Our File No.: 0100-2201101

            Dear Judge Pepper:

            On January 29, 2025, Plaintiff filed an “Expedited and Non-Dipositive Motion for an
            Extension of Time to Respond to Defendants’ Motion for Summary Judgments,” (Dkt.
            88). I write to inform the Court that Defendants David Beth, County of Kenosha, Kyle
            Bissonnette, Jacob DiCello, Gloria Galvan, Dereemeyun Haynes, Jeremy May, and
            Wisconsin Municipal Mutual Insurance Company do not oppose Plaintiff’s motion.
            Although Plaintiff seeks a significant extension, the County Defendants understand
            the constraints posed by scheduling and therefore do not oppose an extension of the
            deadline for Plaintiff to respond to the pending summary judgment motions to April
            15, 2025.


            Very truly yours,




            BRIANNA J. MEYER
            BJM/apl

            cc:       all counsel of record (via efile)




MILWAUKEE, WI     MADISON, WI  WAUWATOSA, WI EAU CLAIRE, WI MUKWONAGO, WI
                       Case 2:22-cv-00970-PP      Filed 02/05/25    Page 1CHICAGO,
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